                                                         Case 3:18-bk-02843-JAF                     Doc 17 1 Filed 01/30/19
                                                                                                      FORM                                    Page 1 of 2
                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                     Page:        1
                                                                                             ASSET CASES
Case No:           18-02843      JAF     Judge: JERRY A. FUNK                                                                         Trustee Name:                     Doreen Abbott, Bankruptcy Trustee
Case Name:         KEECH, DEIDRE RENEE                                                                                               Date Filed (f) or Converted (c):   08/16/18 (f)
                                                                                                                                     341(a) Meeting Date:               09/27/18
For Period Ending: 12/31/18                                                                                                          Claims Bar Date:                   04/22/19



                                     1                                               2                          3                         4                         5                                  6
                                                                                                       Estimated Net Value
                                                                                 Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                             Asset Description                                  Unscheduled          Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                         Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. REAL PROPERTY                                                                  180,000.00                             0.00                                                0.00                   FA
     Single-family home,
     Residence: Single family home,
     13 Raemond LnPalm Coast FL 32164-0000
 2. AUTOMOBILE                                                                       6,341.00                        2,500.00                                                 0.00                         2,500.00
     2011 Subaru Forester (Titled to Deirdre and David Keech Location: 13
     Raemond Ln, Palm Coast FL 32164) mileage: 108,000
 3. HOUSEHOLD GOODS                                                                      800.00                           0.00                                                0.00                   FA
     Household: All furnishings, TVs, Location: 13 Raemond Ln, Palm
     Coast FL 32164
 4. ELECTRONICS                                                                          100.00                           0.00                                                0.00                   FA
     Electronics: Location: 13 Raemond Ln, Palm Coast FL 32164
 5. CLOTHING                                                                             175.00                           0.00                                                0.00                   FA
     Clothes: Location: 13 Raemond Ln, Palm Coast FL 32164
 6. JEWELRY                                                                              150.00                           0.00                                                0.00                   FA
     Jewelry: Wedding band and rings
 7. ANIMALS                                                                                0.00                           0.00                                                0.00                   FA
     Animals: 2 cats Location: 13 Raemond Ln, Palm Coast FL 32164
 8. BANK ACCOUNT                                                                          50.00                           0.00                                                0.00                   FA
     Checking Account: Vystar Credit Union
 9. RETIREMENT                                                                       Unknown                              0.00                                                0.00                   FA
     VA State Retirement
 10. 2018 INCOME TAX REFUND (u)                                                      Unknown                         Unknown                                                  0.00               Unknown

                                                                                                                                                                                       Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                $187,616.00                       $2,500.00                                                $0.00                        $2,500.00




LFORM1                                                                                                                                                                                                                Ver: 21.00a
                                                             Case 3:18-bk-02843-JAF                         Doc 17 1 Filed 01/30/19
                                                                                                              FORM                                      Page 2 of 2
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:       2
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                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
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                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   NO ATTORNEY EMPLOYED
   REQUESTED COPY OF 2017 TAX RETURN SENT 1/3/18
   OBJECTIONS TO EXEMPTIONS TO COURT 10/27/18
   LETTER REQUESTING COPY OF 2018 TAX RETURN TO DEBTORS 1/3/19
   CONSENT ORDER ON OBJECTIONS TO EXEMPTIONS FOR $2,500 WITHIN 90 DAYS SIGNED 1/22/19


   Initial Projected Date of Final Report (TFR): 09/01/20           Current Projected Date of Final Report (TFR): 09/01/20




LFORM1                                                                                                                                                                                                                        Ver: 21.00a
